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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY




  TYEAST M. EDMOND,                                 No. 1 1-cv-2805 (KM)(JBC)
                                 Plaintiff,
                                                OPINION ON MOTION INLIMINE
              V.


  PLAINFIELD BOARD OF EDUCATION,

                                  Defendant.



 KEVIN MCNULTY, U.S.D.J.:
      Plaintiff Tyeast M. Edmond’s suit arises from her employment as a social
 worker with the defendant, Plainficid Board of Education (“the Board”). After
 summary judgment practice, four claims remain for trial: retaliation under Title
 VII of the Civil Rights Act of 1964; invasion of privacy; false light; and
 intentional infliction of emotional distress. Emotional distress is also a
 component of the damages sought.
        Now before the Court is Edmond’s motion in limine to bar the testimony
 of the Board’s expert on emotional distress. For the reasons stated herein the
 motion will be granted as to the causation portion of Ejiofor’s opinion and
 report, and denied with respect to the remaining portions.
    A. QUALIFICATIONS OF EXPERT
       Edmond challenges the qualifications of Udoka Ejiofor, the Board’s
 proposed expert. Ejiofor, a licensed psychiatric mental health nurse
 practitioner, performed a psychiatric evaluation and rendered a report
 concluding that Edmond suffers from Post-Traumatic Stress Disorder (“PTSD”)
  and Narcissistic Personality Disorder (“NPD”). (ECF no. 108-2).
       Federal Rule of Evidence 702 governs the admissibility of expert
  testimony. It provides certain prerequisites for the admission of expert


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 testimony:
       A witness who is qualified as an expert by knowledge, skill,
       experience, training, or education may testilS’ in the form of an
       opinion or otherwise if:
             (a) the expert’s scientific, technical, or other specialized
             knowledge will help the trier of fact to understand the
             evidence or to determine a fact in issue;
              (b) the testimony is based on sufficient facts or data;
              (c) the testimony is the product of reliable principles and
              methods; and
              (d) the expert has reliably applied the principles and
              methods to the facts of the case.
 Fed. R. Evid. 702.
       The Rule “embodies a trilogy of restrictions on expert testimony:
                                                                            (3d Cir.
 qualification, reliability and fit.” Schneider u. Fried, 320 F.3d 396, 404
                                                                            s
 2003). Qualification “refers to the requirement that the witness posses
                                                                          Cir.
 specialized expertise.” Id.; see Waldorf v. Shuta, 142 F.3d 601, 625 (3d
                                                                        regarding
 1998) (“Rule 702 requires the witness to have specialized knowledge
                                                                           is
 the area of testimony.” (internal quotation omitted)). This requirement
                                                                         g qualify
 interpreted liberally: a “broad range of knowledge, skills, and trainin
                                                                   PCB Litig., 35
 an expert.” Waldoif, 142 F.3d at 625; see In re Puoli R.R. Yard
                                                                        ibility
 F.3d 717, 741 (3d Cir. 1994) (“Paolif’). This “liberal policy of admiss
                                                                            .” Paoh
 extends to the substantive as well as the formal qualification of experts
                                                                        rigorous
 L  35 F.3d at 741. The Third Circuit has “eschewed imposing overly
                                                                        lized
  requirements of expertise and ha[sj been satisfied with more genera
                                                                      rather than
  qualifications.” Id. Exclusion of expert testimony is the exception
                                                                    contrary
  the rule because “v]igorous cross-examination, presentation of
                                                                   traditional and
  evidence, and careful instruction on the burden of proof are the
                                                                    Daubert v.
  appropriate means of attacking shaky but admissible evidence.”
  Merrell Dow Pharms., Inc., 509 U.S. 579, 580 (1993).
                                                                            the field
        Ejiofor meets the minimal qualifications to testify as an expert in
                                                                  4822, 2011 WL
  of psychiatric nursing. See Lujano v. Town of Cicero, No. 07 C
  6097719, at *2 (N.D. Ill. Dec. 6, 2011) (“[N]urses. .can give expert testimony if
                                                          .




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 they meet the standards for doing so under Rule 702.”). Ejiofor is a board
 certified psychiatric mental health nurse practitioner. (ECF no. 108-4 at 28:17-
 21). He is licensed as a registered nurse and advanced practice nurse in New
 Jersey and New York. (ECF no. 108-3). In 2005, Ejiofor received a bachelor of
 science degree in nursing from the University of Medicine and Dentistry
 (“UMDNJ”). (ECF nos. 108-3; 108-4 at 11:9-17). In 2011, he received his
 masters of science in nursing from UMDNJ. (ECF no. 108-4 at 11:25-12:4).
 Ejiofor’s training was in adult psychiatry and mental health. (ECF no. 108-4 at
 13:24-14:2). In 2013, Ejiofor received a master’s certificate in psychiatric
 family health from Rutgers University. (EC? no. 108-4 at 13:3-5).’
        As a licensed and certified psychiatric mental health nurse practitioner,
 Ejiofor performs psychiatric evaluations and treats psychiatric patients. (ECF
 no. 108-4 at 38:5-10). He has more than 450 active patients and has been
 performing psychiatric evaluations since May of 2012. (ECFnos. 108-3; 108-4
 at 95:2). Ejiofor is part of various professional associations, including the New
 Jersey Society of Psychiatric Advanced Practice Nurses, and he is affiliated with
 St. Care’s Hospital in Denville, New Jersey. (ECF no. 108-3).
       Edmond challenges Ejiofor’s qualifications on the basis that he does not
 have a medical degree, and is not a psychiatrist or a psychologist. (ECF no.
 108-4 at 27:18-23, 35:11-14, 35:25-36:4). It is well established, however, that
 qualification as an expert does not correspond in any simple way to specific
 academic credentials. In fact, “‘it is an abuse of discretion to exclude testimony
  simply because the trial court does not deem the proposed expert to be the best
  qualified or because the expert does not have the specialization that the court
  considers most appropriate.”’ Lauria v. AMTRAK, 145 F.3d 593, 598—99 (3d Cir.
  1998) (quoting Holbrook v. Lykes Bros. S.S. Co., 80 F.3d 777, 782 (3d Cir.



         Plaintiffs counsel has made much of the fact that Ejiofor also has a Ph.D. in
  materials science, as if that additional training would somehow detract from his
  medical expertise. I give that argument no weight. As the holder of a Ph.D., Ejiofor
  may have used the tide “Doctor,” but to avoid confusion, the tide “Doctor” will not be
  used to refer to him at trial.

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                                                                          alone, and
 1996)). Experts can be qualified “on the basis of practical experience
a formal degree, title, or educational specialty is not required.” Id. “[linsistence
                                                                           Circuit
on a certain kind of degree or background is inconsistent” with Third
                                                                           Cir. 1990)
jurisprudence. In re Paoli R.R. Yard PCB Litig., 916 F.2d 829, 855 (3d
                                                                               cation
 (“PaoliIf’); see also Waldorf 142 F.3d at 626 (“jI}n considering the qualifi
                                                                          ed witness
 of witnesses as experts, we stress that ordinarily an othenvise qualifi
 is not disqualified merely because of a lack of academic training.”).
                                                                            state
       Ejiofor is qualified to render an opinion as to Edmond’s psychiatric
                                                                    Bhd. of
 based on his experience and education. See Guamied v. Pa. Fed’n.
                                                                   (holding that
 Maint. of Way Emps., 153 F. Supp. 2d 736, 741 (E.D. Pa. 2001)
                                                                 g, and master of
 psychotherapist, who had bachelor of science degree in nursin
                                                                    ling) had “the
 science degree in education (specializing in mental health counse
                                                                      the cause of
 requisite credentials and expertise to give an expert opinion as to
                                                                v. Tex. DOT, 2015
 [plaintiffs] alleged mental and emotional distress.”); Saldana
                                                                   g that clinical
 U.S. Dist. LEXIS 83815, *17l8 (W.D. Tex. June 29, 2015) (holdin
                                                               was qualified to
 nurse specialist and board-certified advanced practice nurse
                                                                   and
 opine on plaintiffs emotional distress damages in discrimination
                                                                     logist, board
 retaliation lawsuit even though expert was “not a therapist, psycho
                                                                 out as being
 certified psychologist, or counselor” and did not “hold herself
 trained in psychology or psychiatry.”).
     B. METHODOLOGY
                                                                         ng the
         Edmond contests the reliability of Ejiofor’s opinion by attacki
                                                                ts that Ejiofor failed
  sufficiency of the factual basis underlying it. Edmond asser
                                                                  As a result,
  to review the records of Dr. Taylor, her treating psychologist.
                                                                  e his opinions are
  Edmond asserts, Ejiofor’s opinion should be excluded becaus
                                                                    of psychiatric
  “mere possibilities,” as opposed to probabilities within a degree
  certainty.
                                                                         s and
       “Reliability” requires that the opinion be “based on ‘the method
                                                                   pported
  procedures of science’ rather than on ‘subjective belief or unsu
  speculation.”’ Paoli I, 35 F.3d at 742 (citing Daubert,      U.S. at 590). Thus,


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 “the expert must have ‘good grounds’ for his or her belief.” Id. (quoting Daubert,
 509 U.S. at 590). Ultimately, the reliability requirement ensures that “an
 expert, whether basing testimony upon professional studies or personal
 experience, employs in the courtroom the same level of intellectual rigor that
 characterizes the practice of an expert in the field.” Kumho Tire Co. v.
 Carmichael, 526 U.S. 137, 152 (1999). Accordingly, the “focus must be solely
 on principles and methodology, not on the conclusions they generate.” Paoli I,
 35 F.3d at 744.
        Reliability is a “flexible” test. Kumho Tire, 526 U.S. at 141 (internal
 citation omitted). Factors “deemed important” for determining reliability
 include:
       (1) whether a method consists of a testable hypothesis; (2) whether
       the method has been subject to peer review; (3) the known or
       potential rate of error; (4) the existence and maintenance of
       standards controlling the technique’s operation; (5) whether the
       method is generally accepted; (6) the relationship of the technique
       to methods which have been established to be reliable; (7) the
       qualifications of the expert witness testifying based on the
       methodology; and (8) the non-judicial uses to which the method
       has been put.
                                                                             745-
 PaoliI, 35 F.3d at 791 n.8; see also Elcock z,’. Kmafl Corp., 233 F.3d 734,
                                                                           applied
 46 (3d Cir. 2000). These factors are not exclusive, nor must they all be
                                                                                ,
 in every case. Kumho Tire, 526 U.S. at 141; Elcock, 233 F.3d at 746. Rather
                                                                           lity in a
 whether “specific factors are, or are not, reasonable measures of reliabi
                                                                              e to
 particular case is a matter that the law grants the trial judge broad latitud
 determine.” Kumho Tire, 526 U.S. at 153.
       Federal Rule of Evidence 703 sets forth the requirements relating to the
 underlying facts or data on which an expert may base his or her opinion:

        An expert may base an opinion on facts or data in the case that the
        expert has been made aware of or personally observed. If experts in
        the particular field would reasonably rely on those kinds of facts or
        data in forming an opinion on the subject, they need not be
        admissible for the opinion to be admitted. But if the facts or data
        would otherwise be inadmissible, the proponent of the opinion may
        disclose them to the juzy only if their probative value in helping the

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       jury evaluate the opinion substantially outweighs their prejudicial
       effect.
 Fed. R, Evid. 703.
       “[W]hen a trial judge analyzes whether an expert’s data is of a type
                                                                              r
 reasonably relied on by experts in the field, he or she should assess whethe
                                                                            d by
 there are good grounds to rely on this data to draw the conclusion reache
                                                                             can
 the expert.” Paoli i, 35 F.3d at 749. In making that assessment, the judge
 not only “take into account the particular expert’s opinion that experts
                                                                                  as
 reasonably rely on that type of data, as well as the opinions of other experts
                                                                            he or
 to its reliability, but the judge can also take into account other factors
 she deems relevant.” Id. at 748.
                                                                             JMJ
       “An expert’s testimony must have some connection to existing facts.”
                                                                    LEXIS 5098,
 Enters. u. Via Veneto italian Ice, No. 97-CV-0652, 1998 U.S. Dist.
                                                                         ces and
 at *16 (E.D. Pa. Apr. 15, 1998). “Experts are expected to make inferen
                                                                          data is
 state opinions and they are granted wide latitude in determining what
                                                                       expert’s
 needed to reach a conclusion. Questions as to the sufficiency of an
                                                                  540 F. Supp. 2d
 factual basis are generally left to the jury.” Rn!! a Marandola,
                                                                       In Paoli I,
 563, 568 (E.D. Pa. 2008) (alteration and internal quotation omitted).
                                                                     a patient’s
 35 F.3d at 762, the Third Circuit concluded that either a review of
                                                                     reliable
 medical records or a personal examination of a patient provides a
                                                                     s testimony
 source of information to support a medical diagnosis. If an expert’
 rests on “good grounds   . it should be tested by the adversary process
                              .   .
                                                                              --




                                                                    States v.
 competing expert testimony and active cross-examination.” United
 Mitchell, 365 F.3d 215, 244 (3d Cir. 2004).
                                                                            1,
        Ejiofor conducted a psychiatric evaluation of Edmond on October
                                                                     evaluation
  2016. (ECF no. 108-4 at 44:10-14). Ejiofor has testified that this
                                                                       at 52:6-12,
  was sufficient to permit him to render a diagnosis. (ECF no. 108-4
                                                                 observed the
  108:17-22, 109:16-17). He further testified that he personally
                                                                      conclusions
  symptoms of PTSD and NPD during this evaluation, and that these
                                                                  108-4 at 76:21-
  were reached within a degree of psychiatric certainty. (ECF no.
  25, 94:3-5).

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       Ejiofor’s diagnosis is not excludable simply because it is “possible” that
 his opinion would change if he reviewed the records of Edmond’s treating
 psychologist, Dr. Taylor. (See ECF no. 108-4 at 84:5-85: 1). His diagnosis is
 based on the symptoms exhibited by Edmond during the psychiatric
 evaluation, as well as the information that was provided to him. That is
 sufficient for Ejiofor to proffer an opinion as to diagnosis. See Pooh I, 35 F.3d at
 762 (“IA] doctor only needs one reliable source of information showing that the
 plaintiff is ill and either a physical examination or medical records will suffice   -




 - but the doctor does need at least one of these sources.”); Matlin u. Langkow,
 65 F. App5c 373, 384 (3d Cir. 2003) (holding that expert testimony properly
 admitted where expert examined plaintiff, even though expert did not review
 any of plaintiffs medical records; this fact went to weight rather than
 admissibility of testimony). Ejiofor’s failure to review additional medical records
 is, to be sure, fodder for cross-examination, but not for exclusion of his
 testimony.
      Regarding the admissibility of Ejiofor’s causation opinion, however, I
 cannot reach the same conclusion. I analyze the causation component
 separately. See Helter v. Show Indus., Inc., 167 F.3d 146, 155 (3d Cir. 1999)
 (“[R]eliability analysis applies to all aspects of an expert’s testimony: the
 methodology, the facts underlying the expert’s opinion, the link between the
                                                                                  r
 facts and the conclusion, et alia.” (citing Paoli I, 35 F.3d at 743-45)). Ejiofo
 opines that Edmond “mimicked” symptoms of PTSD, which would “not support
 recent trauma.”2 (ECF no. 108-4 at 79:15-18). From this, Ejiofor concluded
 that Edmond’s PTSD was not caused by conditions related to the workplace,
 which, presumably, he deemed too “recent” to qualify as a cause. Instead,
  Ejiofor determined that Edmond’s VSD was caused by an “unverbalized
  childhood experience” and “her unreported conflicted problems with her
  superiors at work.” (ECF no. 108-2, p.7). Ejiofor admitted in his deposition that


        2       Ejiofor evaluated Edmond on October 1, 2016. (ECF no. 108-4 at 44:10-
  14). The alleged retaliation dates back to 2008. (ECF no. 1).

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                                                                 ation and
Edmond made no reference to a childhood trauma during the evalu
                                                                     108-4 at
that he had no information about Edmond’s life before 2008. (ECF no.
 79:24-80:2).
                                                                                basis
        This opinion is inadmissible for several reasons. First, the factual
                                                                       nowhere in the
 of Ejiofor’s opinion related to an “unverbalized trauma” appears
                                                                           itted that
 record; for all I can tell, it constitutes pure speculation.3 Ejiofor adm
                                                                ond regarding
 he was waiting for, but had not received, information from Edm
                                                               On this basis
 any potential childhood trauma. (ECF no. 108-4 at 83:6-15).
                                                                    ed by an
 alone, Ejiofor’s opinion that Edmond’s emotional distress was caus
                                                              F.3d at 404
 “unverbalized trauma” is not admissible. See Schneider, 320
                                                               belief or
 (stating that expert testimony cannot be based on “subjective
 unsupported speculation”’ (quoting Paoli I, 35 F.3d at 742)).
                                                                   “mimicking”
      Second, there is nothing in the record that establishes that
                                                                  by any
 of symptoms is a psychiatric term or condition that is accepted
                                                               n that such a
 recognized authority. Nor is any basis proffered for the notio
                                                                     r than a
 “mimicking” individual must have suffered an older trauma, rathe
                                                                psychotherapist
 recent one. Cf Guamieri, 153 F. Supp. 2d at 742 (permitting
                                                                 stical Manual of the
 to testify based on criteria set forth in “Diagnostic and Stati
                                                                   the leading text in
 American Psychiatric Association, Fourth Edition (‘DSM-IV’),
 the field of psychiatry/psychology”).
                                                                    “unverbalized”
        Ejiorfor did not explain how he concluded that Edmond’s
                                                              not “recent,” and
 childhood trauma and her conflicts with supervisors were
                                                                is not even a
 therefore could be causes of Edmond’s PTSD. Indeed, there
                                                              trauma. It is entirely
 definition or explanation as to what qualifies as a “recent”
                                                          her such methodology
 unclear what methodology Ejiofor employed, and whet
                                                                   See GE u. Joiner,
 has been reviewed or accepted by the psychiatric community.


                                                                            from Dr.
        3      As part of this motion, Edmond submitted medical records
                                                                 108-1,  108-5) . The
  Cowan, the Board’s previous expert, and Dr. Taylor. (ECF no.
                                                                    in this matter.
  parties have represented that Dr. Cowan is unavailable to testify
                                                                        ation that
  Neither Dr. Taylor’s nor Dr. Cowan’s records support Ejiofor’s specul
  Edmond had an undisclosed childhood trauma.

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 522 U.S. 136, 146 (1997) (Neither Dauhert nor “the Federal Rules of Evidence
 requires a district court to admit opinion evidence that is connected to existing
 data only by the ipse dizit of the expert. A court may conclude that there is
 simply too great an analytical gap between the data and the opinion
 proffered.”). What Ejiofor has offered on this score is what is sometimes called a
 “net opinion,” Le., one that is stated by an expert, but not sufficiently
 connected to the underlying facts or an accepted methodology.
      Accordingly, Ejiofor is precluded from opining that Edmond’s PTSD was
 caused by an “unverbalized childhood experience” and “her unreported
 conflicted problems with her superiors at work.”
    C. USE OF DR. COWAN’S REPORT
       Edmond asserts that Ejiofor improperly relied on Dr. Cowan’s expert
 report and “parroted” Dr. Cowan’s diagnosis, findings, and observations.
       Federal Rule of Evidence 703 expressly provides that “lain expert may
 base an opinion on facts or data in the case that the expert has been made
                                                                              offer
 aware of or personally observed.” “[Ajn expert is permitted wide latitude to
 opinions, including those that are not based on firsthand knowledge or
                                                                         that one
 observation.” Dauben, 509 U.S. at 592. To that end, “it is well settled
 expert may rely upon another expert’s opinion in formulating his own.”
 Carnegie Mellon Univ. v. Marvell Tech. Group, Ltd., 286 F.R.D. 266, 271 (W.D.
                                                                       10-13g3,
 Pa. 2012); see E. Allen Reeves, Inc. v. Michael Graves & Assocs., No.
                                                                         rely on
 2015 U.S. Dist. LEXIS 1212, at *15 (D.N.J. Jan. 6, 2015) (expert “may
 the opinion of another expert in formulating his or her opinion.”).
       However, an expert “may not parrot or act as a mouthpiece for other
                                                                          Lease v.
 experts’ opinions, without independent verification of those opinions.”
                                                                              n v.
 Lockheed Martin Corp., 6 F. Supp. 3d 546, 553 (D.N.J. 2014) (citing Muhsi
                                                        *4, *8 (D.V.I. June 8,
 Pac. Cycle, Inc., No. 20 10-060, 2012 WL 2062396, at
                                                                                 r
 2012) (holding that experts may not rely “upon opinions developed by anothe
                                                                          expert’s
  expert without independent verification or validation of the underlying
                                                                            e the
  work” because Rule 703 “contemplates that a testifying expert can validat


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 facts, data and opinions he relied upon   .   .   .   and be subject to cross-
 examination on them”)). “[E]xperts who use data in their reports without
 independently verifying the accuracy or reliability of those figures fail to satisfy
 this Circuit’s reliability requirement.” Bnzno v. Bozzuto’s, Inc., 311 F.R.D. 124,
 138 (M.D. Pa. 2015); see In re TMILitig., 193 F.3d 613, 715-16 (3d Cir. 1999)
 (finding blind reliance by expert on other expert opinions demonstrated flawed
 methodology under Dazi bert).
        Ejiofor makes several references to Dr. Cowan’s report, but does not
 parrot Dr. Cowan’s conclusions or diagnosis.
       First, Ejiofor notes that Dr. Cowan diagnosed Ms. Edmond with major
 depressive disorder; Ejiofor, however, concluded that Edmond did not have
 major depression based on the symptoms she exhibited and the information
 she provided to Ejiofor. (ECF 108-2, p.6). In disagreeing with Dr. Cowan’s
 diagnosis, Ejiofor obviously was not “parroting” Dr. Cowan’s opinion or offering
  it as his own.
      Second, Ejiofor notes that in 2013 Ms. Edmond told Dr. Cowan her
  memory was intact, but in 2016 she told Ejiofor she was having issues with her
  memory. Edmond could not specify to Ejiofor when she began to have issues
  with her memory loss. (ECF 108-2, p.6). From this information, Ejiofor
  concluded that Edmond’s memory loss began sometime after her meeting with
  Dr. Cowan in 2013. He attributed it to stress, anxiety, and lack of sleep due to
  Edmond’s having held multiple jobs in the period 2013—16. (ECF no. 108-2,
  p.6). This conclusion, while it used Edmond’s statement to Dr. Cowan as a
  baseline, was based on Ejiofor’s firsthand evaluation of Edmond. See Durflinger
  v. Artiles, 563 F. Supp. 322, 327—28 (D. Kan. 1981) (deposition testimony of
  psychiatrist who had seen patient only once was admissible when opinion was
  based in part on psychologist’s interviews of patient), affd, 727 F.2d 888 (10th
  Cir. 1984).
        Third, in diagnosing Edmond with NPD, Ejiofor noted that his diagnosis
  was supported by facts in Dr. Cowan’s report. Specifically, Dr. Cowan had


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 noted that Edmond had a pattern of conflicts and complaints with authorities
 in other educational settings. (ECF no. 108-2, p.7). However, Ejiofor’s diagnosis
 of NPD was based primarily on his observations of Edmond. (ECF no. 108-4 at
 88:6-14; 94:3-5).
       In sum, a review of the report shows that Ejiofor, although he notes
 certain items in Dr. Cowan’s report, will not be merely reciting Dr. Cowan’s
 opinions or presenting them as his own. Ejiofor’s own evaluation and interview
 of Edmond form the basis of his opinion.4
     D. CONCLUSION
     For the reasons stated above, Edmond’s motion to bar the testimony of
  Ejiofor is granted as to the causation portion of Ejiofor’s opinion and report,
  and denied with respect to the remaining portions.
  Dated: September 13, 2013



                                             C.
                                          Kevin McNulty
                                          United States District Judge




        4       Because Ejiofor’s causation opinion is not admissible, this court does not
  address Ejiofor’s conclusion that Edmond’s VPSD was caused by “unreported
                                                                                   no.
  conflicted problems with her superiors at work, as noted by Dr. Cowan.” (ECF
  108-2, p.7).


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